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                                                     United States District Court                                            JS-3
                                                     Central District of California


UNITED STATES OF AMERICA vs.                                              Docket No.             CR 15-511(A)-DMG

Defendant         DALIBOR KABOV                                           Social Security No. 0           5     2     3

akas:   Dalibor D. Kabov; Dalibor Dabo Kabov; Dabo                        (Last 4 digits)

                                       JUDGMENT AND PROBATION/COMMITMENT ORDER


                                                                                                                    MONTH   DAY      YEAR
           In the presence of the attorney for the government, the defendant appeared in person on this date.       MAR     13       2019


 COUNSEL                                                             Anthony Eaglin, Appointed
                                                                           (Name of Counsel)

     PLEA             GUILTY, and the court being satisfied that there is a factual basis for the plea.          NOLO            X     NOT
                                                                                                              CONTENDERE              GUILTY
  FINDING  There being a finding/verdict of GUILTY, defendant has been convicted as charged of the offense(s) of:
          Conspiracy to Distribute Oxycodone, Hydromorphone, Hydrocodone and Promethazine with Codeine in violation of Title 21
          U.S.C. §§ 846 and 841(a)(1), (b)(1)(C) as charged in Count 1 of the First Superseding Indictment; Distribution of Oxycodone
          in violation of Title 21 U.S.C. §§ 841(a)(1), (b)(1)(C) as charged in Counts 2-4 of the First Superseding Indictment;
          Conspiracy to Import a Schedule III Controlled Substance in violation of Title 21 U.S.C. §§ 963, 952(b), 960(a)(1) as charged
          in Count 5 of the First Superseding Indictment; Importation of a Schedule III Controlled Substance, Causing an Act to be
          Done in violation of Title 21 U.S.C. §§ 952(b), 960(a)(1), and 18 U.S.C. § 2(b) as charged in Counts 6-8 of the First
          Superseding Indictment; Engaging in Transactions in Criminally Derived Proceeds, Causing an Act to be Done in violation
          of Title 18 U.S.C §§ 1957(a), 2(b) as charged in Counts 10-18 of the First Superseding Indictment; and Subscribing to a
          False Tax Return in violation of Title 26 U.S.C § 7206(1) as charged in Counts 46-50 of the First Superseding Indictment.
JUDGMENT The Court asked whether there was any reason why judgment should not be pronounced. Because no sufficient cause to the
AND PROB/ contrary was shown, or appeared to the Court, the Court adjudged the defendant guilty as charged and convicted and ordered
  COMM    that: Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant is hereby committed to
  ORDER   the custody of the Bureau of Prisons to be imprisoned for a term of: ONE HUNDRED AND TWENTY-ONE (121)
          MONTHS. This term consists of 121 MONTHS on each of Counts 1 through 4, 97 MONTHS on each of Counts 5 through 8
          and 10 through 18, and 36 MONTHS on each of Counts 46 through 50 of the First Superseding Indictment, all to be served
          CONCURRENTLY.


        It is ordered that the defendant shall pay to the United States a special assessment of $2200, which is due immediately. Any unpaid
balance shall be due during the period of imprisonment, at the rate of not less than $25 per quarter, and pursuant to the Bureau of Prisons’
Inmate Financial Responsibility Program.

         Pursuant to Guideline Section 5E1.2(a), all fines are waived as the Court finds that the defendant has established that he is unable to
pay and is not likely to become able to pay any fine.

         Upon release from imprisonment, the defendant shall be placed on supervised release for a term of THREE (3) YEARS. This term
consists of three years on each of Counts 1 through 8 and 10 through 18 and one year on each of Counts 46 through 50 of the First Superseding
Indictment, all such terms to run CONCURRENTLY under the following terms and conditions:

         1.   The defendant shall comply with the rules and regulations of the United States Probation Office and General Order 18-10;

         2.   The defendant shall not commit another violation of federal, state, or local law or ordinance;

         3.   During the period of community supervision, the defendant shall pay the special assessment and restitution in accordance with
              this judgment’s orders pertaining to such payment;

         4.   The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug test within

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                15 days of release from imprisonment and at least two periodic drug tests thereafter, not to exceed eight tests per month, as
                directed by the Probation Officer;

          5.    The defendant shall participate in an outpatient substance abuse treatment and counseling program that includes urinalysis, breath,
                and/or sweat patch testing, as directed by the Probation Officer. The defendant shall abstain from using illicit drugs, alcohol, and
                abusing prescription medications during the period of supervision;

          6.    As directed by the Probation Officer, the defendant shall pay all or part of the costs of treating the defendant’s drug dependency to
                the aftercare contractor during the period of community supervision, pursuant to 18 U.S.C. § 3672. The defendant shall provide
                payment and proof of payment as directed by the Probation Officer. If the defendant has no ability to pay, no payment shall be
                required;

          7.    The defendant shall truthfully and timely file and pay taxes owed for the years of conviction, and shall truthfully and timely file
                and pay taxes during the period of community supervision. Further, the defendant shall show proof to the Probation Officer of
                compliance with this Order;

          8.    The defendant shall pay restitution under 18 U.S.C. § 3583(d) in the amount of $175,548 to IRS-RACS, Attn: Mail Stop 6261,
                Restitution, 333 W. Pershing Avenue, Kansas City, MO 64108. The defendant shall make monthly installments of at least 10
                percent of defendant’s gross monthly income, but not less than $100, whichever is greater, during the period of supervised
                release. These payments shall begin 30 days after the commencement of supervision;

          9.    The defendant shall not be employed in any position or have an ownership interest in any business that requires licensing and/or
                certification by any local, state, or federal agency without the prior written approval of the Probation Officer;

          10. The defendant shall apply all monies received from income tax refunds to the outstanding Court-ordered financial obligation. In
              addition, the defendant shall apply all monies received from lottery winnings, inheritance, judgments, and any anticipated or
              unexpected financial gains to the outstanding Court-ordered financial obligation; and

          11. The defendant shall cooperate in the collection of a DNA sample from the defendant.

         The Court authorizes the Probation Office to disclose the Presentence Report to the substance abuse treatment provider to facilitate the
defendant’s treatment for narcotics addiction or alcohol dependency. Further redisclosure of the Presentence Report by the treatment provider
is prohibited without the consent of the Court.

         The Court recommends that the defendant be designated to a federal correctional facility in the Southern California area. The Court
also recommends that the defendant be assessed for suitability for the Bureau of Prisons’ 500-Hour Residential Drug Abuse Program.

          The Court dismisses all remaining counts of the underlying indictment as to this defendant.

          The bond is exonerated as to this defendant.

          The Court informs the defendant of his right to appeal.




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In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of Probation and
Supervised Release within this judgment be imposed. The Court may change the conditions of supervision, reduce or extend the period of
supervision, and at any time during the supervision period or within the maximum period permitted by law, may issue a warrant and revoke
supervision for a violation occurring during the supervision period.




           March 15, 2019
           Date                                                         Dolly M. Gee, United States District Judge

It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or other qualified officer.


                                                                        Clerk, U.S. District Court




           March 15, 2019                                        By     /s/ Kane Tien
           Filed Date                                                   Deputy Clerk



The defendant shall comply with the standard conditions that have been adopted by this court (set forth below).

                              STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

                              While the defendant is on probation or supervised release pursuant to this judgment:
1.   The defendant must not commit another federal, state, or local              9.     The defendant must not knowingly associate with any persons
     crime;                                                                             engaged in criminal activity and must not knowingly associate with
2.   The defendant must report to the probation office in the federal                   any person convicted of a felony unless granted permission to do so
     judicial district of residence within 72 hours of imposition of a                  by the probation officer. This condition will not apply to intimate
     sentence of probation or release from imprisonment, unless                         family members, unless the court has completed an individualized
     otherwise directed by the probation officer;                                       review and has determined that the restriction is necessary for
3.   The defendant must report to the probation office as instructed by                 protection of the community or rehabilitation;
     the court or probation officer;                                             10.    The defendant must refrain from excessive use of alcohol and must
4.   The defendant must not knowingly leave the judicial district                       not purchase, possess, use, distribute, or administer any narcotic or
     without first receiving the permission of the court or probation                   other controlled substance, or any paraphernalia related to such
     officer;                                                                           substances, except as prescribed by a physician;
5.   The defendant must answer truthfully the inquiries of the probation         11.    The defendant must notify the probation officer within 72 hours of
     officer, unless legitimately asserting his or her Fifth Amendment                  being arrested or questioned by a law enforcement officer;
     right against self-incrimination as to new criminal conduct;                12.    For felony cases, the defendant must not possess a firearm,
6.   The defendant must reside at a location approved by the probation                  ammunition, destructive device, or any other dangerous weapon;
     officer and must notify the probation officer at least 10 days before       13.    The defendant must not act or enter into any agreement with a law
     any anticipated change or within 72 hours of an unanticipated                      enforcement agency to act as an informant or source without the
     change in residence or persons living in defendant’s residence;                    permission of the court;
7.   The defendant must permit the probation officer to contact him or           14.    As directed by the probation officer, the defendant must notify
     her at any time at home or elsewhere and must permit confiscation                  specific persons and organizations of specific risks posed by the
     of any contraband prohibited by law or the terms of supervision                    defendant to those persons and organizations and must permit the
     and observed in plain view by the probation officer;                               probation officer to confirm the defendant’s compliance with such
8.   The defendant must work at a lawful occupation unless excused by                   requirement and to make such notifications;
     the probation officer for schooling, training, or other acceptable          15.    The defendant must follow the instructions of the probation officer
     reasons and must notify the probation officer at least ten days                    to implement the orders of the court, afford adequate deterrence
     before any change in employment or within 72 hours of an                           from criminal conduct, protect the public from further crimes of the
     unanticipated change;                                                              defendant; and provide the defendant with needed educational or
                                                                                        vocational training, medical care, or other correctional treatment in
                                                                                        the most effective manner.




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 X The defendant will also comply with the following special conditions (set forth below).

          STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS

          The defendant must pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the fine or
restitution is paid in full before the fifteenth (15th) day after the date of the judgment under 18 U.S.C. § 3612(f)(1). Payments may be
subject to penalties for default and delinquency under 18 U.S.C. § 3612(g). Interest and penalties pertaining to restitution, however, are not
applicable for offenses completed before April 24, 1996.

         If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant must pay the
balance as directed by the United States Attorney’s Office. 18 U.S.C. § 3613.

         The defendant must notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing address or
residence address until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. § 3612(b)(l)(F).

         The defendant must notify the Court (through the Probation Office) and the United States Attorney of any material change in the
defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18 U.S.C. § 3664(k).
The Court may also accept such notification from the government or the victim, and may, on its own motion or that of a party or the victim,
adjust the manner of payment of a fine or restitution under 18 U.S.C. § 3664(k). See also 18 U.S.C. § 3572(d)(3) and for probation 18
U.S.C. § 3563(a)(7).

          Payments will be applied in the following order:

                      1. Special assessments under 18 U.S.C. § 3013;
                      2. Restitution, in this sequence (under 18 U.S.C. § 3664(i), all non-federal victims must be paid before the United
                        States is paid):
                                Non-federal victims (individual and corporate),
                                Providers of compensation to non-federal victims,
                                The United States as victim;
                      3. Fine;
                      4. Community restitution, under 18 U.S.C. § 3663(c); and
                      5. Other penalties and costs.

          CONDITIONS OF PROBATION AND SUPERVISED RELEASE PERTAINING TO FINANCIAL SANCTIONS

         As directed by the Probation Officer, the defendant must provide to the Probation Officer: (1) a signed release authorizing credit
report inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure and (3) an accurate financial
statement, with supporting documentation as to all assets, income and expenses of the defendant. In addition, the defendant must not apply
for any loan or open any line of credit without prior approval of the Probation Officer.

         The defendant must maintain one personal checking account. All of defendant’s income, “monetary gains,” or other pecuniary
proceeds must be deposited into this account, which must be used for payment of all personal expenses. Records of all other bank accounts,
including any business accounts, must be disclosed to the Probation Officer upon request.

        The defendant must not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500 without
approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied in full.

                                 These conditions are in addition to any other conditions imposed by this judgment.




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                                                                     RETURN

 I have executed the within Judgment and Commitment as follows:
Defendant delivered on                                                                      to
Defendant noted on appeal on
Defendant released on
Mandate issued on
Defendant’s appeal determined on
Defendant delivered on                                                                    to
    at
    the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

                                                                    United States Marshal


                                                             By
           Date                                                     Deputy Marshal




                                                                CERTIFICATE

I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office, and in my
legal custody.
                                                                    Clerk, U.S. District Court


                                                             By
           Filed Date                                               Deputy Clerk



                                                 FOR U.S. PROBATION OFFICE USE ONLY



Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the term of
supervision, and/or (3) modify the conditions of supervision.


          These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.



          (Signed)
                      Defendant                                                                  Date




                      U. S. Probation Officer/Designated Witness                                 Date




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